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     ELLEN F. ROSENBLUM
     Attorney General
     SHANNON M. VINCENT #054700
     Senior Assistant Attorney General
     Department of Justice
     1162 Court Street NE
     Salem, OR 97301-4096
     Telephone: (503) 947-4700
     Fax: (503) 947-4791
     Email: Shannon.M.Vincent@doj.state.or.us

     Attorneys for Defendants




                                  IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON

                                             EUGENE DIVISION

     DAMEION DOUGLAS,                                        Case No. 6:20-cv-00546-IM

                     Plaintiff,                              DECLARATION OF DENNIS
                                                             STAHLNECKER IN SUPPORT OF
                                                             DEFENDANTS' MOTION FOR SUMMARY
             v.                                              JUDGMENT
     CHAPLIAN KARUNA THOMPSON et. al.,

                     Defendants.


             I, Dennis Stahlnecker, declare and say:

             1.      I am employed by Oregon Department of Corrections (ODOC) as a Chaplain at

     Oregon State Penitentiary (OSP). In that capacity, I am one of the custodians of ODOC’s

     records.

             2.      I make this declaration from personal knowledge and in reliance on the attached

     documents, which are regularly kept in the ordinary course of ODOC’s operations.

             3.      I understand that Dameion Douglas, an ODOC adult in custody (AIC), is bringing

     claims in this lawsuit related to his religious services.
Page 1 -   DECLARATION OF DENNIS STAHLNECKER IN SUPPORT OF DEFENDANTS'
           MOTION FOR SUMMARY JUDGMENT
           SMV/mm8/890885010
                                                     Department of Justice
                                                     1162 Court Street NE
                                                    Salem, OR 97301-4096
                                             (503) 947-4700 / Fax: (503) 947-4791
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          4.      I understand that Mr. Douglas brings his claims against—among others—myself

   and Karuna Thompson, who was a Chaplain at OSP before moving to a different position. I

   understand that Mr. Douglas alleges that Ms. Thompson and I violated his rights under the

   United States Constitution and the Religious Land Use and Institutionalized Persons Act with

   respect to religious services for Nation of Islam (NOI) adherents in two respects: (1) he alleges

   that he was not provided enough time to complete his NOI Jummah Prayer in OSP’s chapel area

   on October 18, 2019; and (2) he alleges that group NOI Jummah Prayer services were wrongly

   suspended for 90 days in early 2020.
          5.      These claims are addressed below.

                         OCTOBER 18, 2019, NOI JUMMAH PRAYER SERVICE

          6.      On October 18, 2019, Mr. Douglas and another AIC were in the room at OSP

   reserved for their Jummah Payer.

          7.      They were the only people in the room and were very loud, to the point that a

   religious services volunteer in the next room over politely asked them to be quiet. This had

   happened before.

          8.      Ms. Thompson warned Mr. Douglas about the noise and advised that he had 15

   minutes to complete his prayer time. Mr. Douglas actually received more than 15 minutes that

   day before I let him know that his time was up.

          9.      A copy of Mr. Douglas’s prison grievance file related to OSP’s October 18, 2019,

   Jummah Prayer service (Grievance OSP_2019_11_002)—which includes my original response

   to his grievance—is attached to this declaration as Exhibit 1.

          10.     As I warned Mr. Douglas in my grievance response dated December 13, 2019, he

   would be escorted out of OSP’s chapel area if he continued to be loud and disruptive during

   chapel services. See Ex. 1, p. 25.

          11.     I understand that Mr. Douglas reached out to various volunteers whom he thought

     may have made noise complaints.
Page 2 - DECLARATION OF DENNIS STAHLNECKER IN SUPPORT OF DEFENDANTS'
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                                                  1162 Court Street NE
                                                 Salem, OR 97301-4096
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            12.      ODOC has security concerns regarding AICs potentially intimidating religious

    services volunteers or making them uncomfortable in ODOC institutions, as well as practical

    concerns. Religious services volunteers may be less inclined to come into our institutions if they

    are faced with intimidation or the prospect of getting into the middle of AIC disputes.

                  2020 90-DAY SUSPENSION OF GROUP NOI JUMMAH PRAYER SERVICES

            13.      On December 31, 2019, due to continued noise issues and coarse language during

    NOI services, NOI group services were suspended for 90 days.

            14.      During the temporary suspension, each NOI AIC was provided with the weekly
    khutba (prayer) so that they could conduct their prayers independently. They were also provided

    an opportunity to shower at mid-day before saying their prayers. The only suspension was the

    temporary suspension of the group services that had been causing a disturbance.

            15.      The 90-day suspension was intended to further the safe and secure operations of

    OSP’s chapel area, and to allow AICs of other faith traditions to conduct services without

    disruptions from the NOI group service.

            16.      Excess noise in prison is a security issue because it can potentially drown out

    cries for help. This issue is exacerbated in the OSP chapel setting, where outside volunteers are

    often present.

            17.      Three prison grievances that Mr. Douglas filed related to the 90-day suspension

    are attached to this declaration. They include: (1) Grievance OSP_2020_01_038 (attached as

    Exhibit 2); (2) Grievance OSP_2020_02_001 (attached as Exhibit 3); and (3) Grievance

    OSP_2020_02_016 (attached as Exhibit 4).

            18.      I provided the original responses to each of these grievances. See Ex. 2, pp. 5-6;

    Ex. 3, pp. 5-6 ; Ex. 4, pp. 5-6.

            19.      The 90-day suspension—which had been set to run through April 3, 2020—was

    effectively cut short due to Covid-19 pandemic-related closures, as all group religious services

     were cancelled at OSP in March of 2020 to contain the spread of the disease.
Page 3 - DECLARATION OF DENNIS STAHLNECKER IN SUPPORT OF DEFENDANTS'
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                                           2019 RAMADAN LIST

             20.     A copy of Grievance OSP_2019_06_037—which arises out of Mr. Douglas’s

     allegation that his name was not timely added to OSP’s 2019 Ramadan list (i.e., the list of AICs

     who received Ramadan accommodations that year) is attached to this declaration as Exhibit 5.

             21.     I received a copy of Ms. Thompson’s May 3, 2019, email that is appended to her

     original response to Mr. Douglas’s grievance. See Ex. 5, p. 8.

             I declare under penalty of perjury that the foregoing is true and correct.

             EXECUTED on August 2, 2023.


                                                         s/ Dennis Stahlnecker
                                                         DENNIS STAHLNECKER




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                                                   1162 Court Street NE
                                                  Salem, OR 97301-4096
                                           (503) 947-4700 / Fax: (503) 947-4791
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                                   CERTIFICATE OF SERVICE

             I certify that on August 7 , 2023, I served the foregoing DECLARATION OF DENNIS

     STAHLNECKER IN SUPPORT OF DEFENDANTS' MOTION FOR SUMMARY

     JUDGMENT upon the parties hereto by the method indicated below, and addressed to the

     following:

     Dameion Douglas                                        HAND DELIVERY
     SID #10131429                                        X MAIL DELIVERY
     Oregon State Penitentiary                              OVERNIGHT MAIL
     2605 State St.                                         TELECOPY (FAX)
     Salem, OR 97301                                        E-MAIL
           Pro se Plaintiff                                 E-SERVE




                                                          s/ Shannon M. Vincent
                                                      SHANNON M. VINCENT #054700
                                                      Senior Assistant Attorney General
                                                      Trial Attorney
                                                      Tel (503) 947-4700
                                                      Fax (503) 947-4791
                                                      Shannon.M.Vincent@doj.state.or.us
                                                      Of Attorneys for Defendants Thompson, Schow,
                                                      Stahlnecker




Page 1 -   CERTIFICATE OF SERVICE
           SMV/mm8/33708586
                                                Department of Justice
                                                1162 Court Street NE
                                               Salem, OR 97301-4096
                                        (503) 947-4700 / Fax: (503) 947-4791
